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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ALAN HEADMAN,

               Plaintiff,

                            v.                               Civil Action No. 22-952 (TJK)

CLAYTON R. HIGGINS, JR.,

               Defendant.


                                              ORDER

       Pro se Plaintiff sued Defendant, an employee in the Office of the Clerk of the United States

Supreme Court. Plaintiff alleges that Defendant committed an “unconstitutional denial of due

process” when, under the local rules, he refused more than once to file Plaintiff’s petition for

certiorari with the Supreme Court because Plaintiff failed to attach copies of various lower court

rulings against him. ECF No. 1 at 2–3. Plaintiff alleges that Defendant lacks the authority to

“predetermine the outcome” of his petition for a writ of certiorari, and he seeks an injunction

requiring the Clerk of the Supreme Court to file his petition. Id. at 6–7.

       The Court lacks subject-matter jurisdiction over the complaint. “[O]n rare occasions, [a

court] may dismiss a case sua sponte for lack of subject-matter jurisdiction.” Vasaturo v. Peterka,

203 F. Supp. 3d 42, 44 (D.D.C. 2016); see Fed. R. Civ. P. 12(h)(3). “This occurs where a complaint

. . . present[s] no federal question suitable for decision.” Vasaturo, 203 F. Supp. 3d at 44 (quoting

Best v. Kelly, 39 F.3d 328, 330 (D.C. Cir. 1994)). One such situation is when a complaint seeks

“review [of] any decision of the Supreme Court or its Clerk.” In re Marin, 956 F.2d 339, 340

(D.C. Cir. 1992) (per curiam). Indeed, any claim “against the Clerk of the United States Supreme

Court . . . for acting within the scope of [his or her] respective duties [is] barred.” Brown v. Suter,
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298 F. App’x 15, 15 (D.C. Cir. 2008) (cleaned up). This is so because the Supreme Court’s

“supervisory authority” over its Clerk is “exclusive” and lower courts may not “compel the Clerk

of the Supreme Court to take any action.” In re Marin, 956 F.2d at 340.

        For relief, Plaintiff seeks an injunction “effectively ask[ing] this Court to decide that the

Supreme Court . . . Clerk . . . must accept” his petition. Bent v. Talkin, 280 F. Supp. 3d 107, 110

(D.D.C. 2017), aff’d, No. 18-5001, 2018 WL 4099587 (D.C. Cir. Aug. 14, 2018). But the law in

this Circuit is clear: lower courts lack the authority to instruct the Clerk of the Supreme Court to

take any particular action. See In re Marin, 956 F.2d at 340; Miller v. Harris, 599 Fed. App’x 1

(D.C. Cir. 2015) (per curiam) (citing In re Marin, 956 F.2d at 340); Hilderbrand v. Suter, No. 14-

1449 (JEB), 2014 WL 4240169, *1 (D.D.C. Aug. 22, 2014) (“This Court has no authority to

determine what action, if any, must be taken by the Supreme Court and its administrative

officers.”).

        Accordingly, it is hereby ORDERED that Plaintiff’s complaint, ECF No. 1, is

DISMISSED for lack of subject-matter jurisdiction. This is a final appealable order. The Clerk

of the Court is directed to close the case.


        SO ORDERED.


                                                              /s/ Timothy J. Kelly
                                                              TIMOTHY J. KELLY
                                                              United States District Judge

Date: April 26, 2022




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